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9ev. 02/2006
                      COURTROOM MINUTES OF CRIMINAL PROCEEDINGS
                                   Norfolk Division

SENTENCING MINUTES
Set: 2:00 p.m.                             Date:      March 11, 2021
Started: 2:00 p.m.                         Judge:     Rebecca Beach Smith
Ended: 3:00 p.m.                           Court Reporter:   Jody Stewart, OCR
                                           U.S. Attorney: Brian Samuels, AUSA
                                           Defense Counsel: L. Woodward, c/a
                                           Courtroom Deputy:    Cristi Dodge
                                           Probation Officer: Joshua Coleman

Case No.   4:20cr27
Defendant:     Joseph M. Cherry, II               ( X )In custody    (   )On bond


   X     Matter came on for disposition.

   X     USA’s Motion for Acceptance of Responsibility (document #27).

                      x      Granted.            Denied.

  x     Court adjudged defendant guilty of Counts   1,5         of the Indictment, after
entering a plea of guilty before a Magistrate Judge.

   x     Presentence Report reviewed.                Objections heard and rulings made.
         Evidence presented. (Witnesses and exhibits listed on last page)
   x       Arguments of counsel heard.       x    Statement of defendant heard.




IMPRISONMENT:
SENTENCE: Counts 1,5      The defendant shall be committed to the custody of the
BOP to be imprisoned for a total term of 51     months. This term consists of a
term of    51    months on Count 1, and a term of      51   months on Count 2, all
to be served concurrently.

     The court makes the following recommendations to the United States Bureau of
Prisons:
     1) The defendant shall undergo a full mental health examination and shall
receive all appropriate mental health treatment and counseling, in particular for
his fraud mentality.

     2) The defendant shall further his education by taking college courses, but
not in the area of financial/business.



   X       The defendant is remanded to the custody of the U.S. Marshal.
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SUPERVISED RELEASE:
 x   Upon release from imprisonment, the defendant shall be on supervised release
for a term of 3      years. This term consists of a term of 3 years on Count 1,
and a term of 3    years on Count 5 all to be served concurrently.

Special Conditions of Supervised Release:
  x    The defendant will be subjected to random urinalysis testing while on
supervised release. If, at any time, he tests positive for the use of any
controlled substance or excessive use of alcohol, he will be required to
participate in a substance abuse treatment and counseling program, to include in-
patient treatment if necessary, at the direction and discretion of the probation
officer. The defendant shall bear partial costs of this program.

  x    The defendant shall continue to participate in a mental health treatment
and counseling program at the direction and discretion of the probation officer.
Defendant   shall   bear   partial  costs   of  this   program,  in   particular
counselling/treatment for his fraud mentality.

  x    The defendant shall waive all rights of confidentiality regarding mental
health/substance abuse treatment in order to allow the release of information to
the United States Probation Office and authorize communication between the
probation office and the treatment provider.

  x    The defendant shall pay support for his minor child/children in the amount
ordered by any social service agency or court of competent jurisdiction, and
shall register with the Department of Child Support Enforcement in any state in
which he resides. In the absence of any such order, payments are to be made on a
schedule to be determined by the court at the inception of supervision, based on
defendant’s financial circumstances.

 x      As directed by the probation officer, the defendant shall apply monies
received from income tax refunds, lottery winnings, inheritances, judgments, and
any anticipated or unexpected financial gains to the outstanding court-ordered
financial obligation.

 x     The defendant shall not incur new credit charges or open additional lines
of credit without the approval of the probation officer.

 x     The defendant shall provide the probation officer access to any requested
financial information.

  x   During the period of supervised release, the defendant shall provide a copy
of his/her state and federal tax returns each year to the probation officer.

       The defendant shall provide written notification of the nature of his/her
conviction to any employer he may have during his/her period of supervised
release. A copy of this written notification shall be submitted to the probation
officer, and the probation officer shall verify that the defendant’s employer
received this notification.

  x    The defendant shall participate in the Treasury Offset Program (TOP) as
directed by the probation officer.

  x    The court does not deny federal benefits because the denial is not
applicable.
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                             FINANCIAL PENALTIES
 x   The court waives the cost of prosecution, incarceration, and supervised
release, except to the extent the defendant will have to bear costs as outlined
in the Special Conditions of Supervision.


SPECIAL ASSESSMENT:
            x    As to count   1   , the defendant shall pay a special assessment
           in the amount of $100.00 .

            x    As to count 5         the defendant shall pay a special assessment
           in the amount of $100.00    .


The total special assessment due is $200.00     and shall be due in full
immediately.


FINE:
 x      No fines have been imposed in this case.

        The defendant shall pay a fine in the amount of $                            .



RESTITUTION:
 x    The defendant shall make restitution in the amount of $57,303.29 as to
count one          .

 x    Restitution Judgment Order, entered and filed in open court.



SCHEDULE OF PAYMENTS:
 x    Interest on the restitution has been waived.

      Interest accrues as provided in 18 U.S.C. § 3612(f).

  x    The special assessment/fine/restitution is due and payable immediately.
The defendant shall pay to the Clerk at least $350* per month beginning sixty
(60) days from the inception of supervised release toward any restitution
remaining unpaid. The court reserves the option to alter this amount, depending
upon defendant’s financial circumstances at the time of supervised release and
depending upon how much restitution has been paid. * or 25% of net income,
whichever is greater


      Restitution shall be made jointly and severally with
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      Nothing in the Court's order shall prohibit the collection of any judgment
or fine by the United States.

 x    The defendant notified of right of appeal.

x     Court noted that defendant waived right of appeal in plea agreement.

 x    On motion of the government, remaining counts dismissed.

      The defendant is continued on present bond and cautioned re bail jumping.




 x    Consent Order of Forfeiture, executed and filed in open court.



Additional Counts/Comments:
